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✎AO 187 (Rev. 7/87) Exhibit and Witness List


                                                 UNITED STATES DISTRICT COURT
                                                                                       DISTRICT OF                                     Connecticut



                                      USA
                                                                                                                 EXHIBIT LIST
                                        V.
                          Jamie Middlebrook                                                                            Case Number: 3:19-cr-283(JCH)

PRESIDING JUDGE                                                    PLAINTIFF’S ATTORNEY                                      DEFENDANT’S ATTORNEY
 Robert M. Spector                                                  Pilar Gonzalez                                            Jonathan Einhorn
TRIAL DATE (S)                                                     COURT REPORTER                                            COURTROOM DEPUTY
 11/25/2019                                                         FTR                                                       A. Campbell
 PLF.      DEF.         DATE
                                       MARKED ADMITTED                                                   DESCRIPTION OF EXHIBITS* AND WITNESSES
 NO.       NO.        OFFERED

   1                 11/25/2019                         Yes         Incident Report dated 10/2/19

   2                 11/25/2019                         Yes         Incident Report dated 2/16/19

   3                 11/25/2019                         Yes         Incident Report dated 12/3/18




* Include a notation as to the location of any exhibit not held with the case file or not available because of size.

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